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             Exhibit C
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                                                                                                                                       F5.corn   I Support I Community I Partners I MYF5



@.         AskFS                Knowledge Centers            Resources                                                                                                          My Support




AskF5 Home     Knowledge Center   BIG-IP Local Traffic Manager: Monitors Reference      Monitors Concepts




                                                                                                                                                                              Applies To:
Manual Chapter : Monitors Concepts
                                                                                                                                                                            Show Versions I±]




                                                       >        Monitors Concepts
  Monitors Tasks

  Monitors Settings Reference                                   Purpose of monitors
                                                                Monitors determine the availability and pertom,ance of devices, links. and services on a network. Health monitors check
  Legal Notices
                                                                the availability. Performance monitors check the performance and load. If a monitored device, link, or service does not
                                                                respond within a specified timeout period, or the status indicates that perfonnance is degraded or that the load is
                                                                excessive, the B I G -I P system can redirect the traffic to another resource.


                                                                Benefits of monitors
                                                                Monitors gather infonnation about your networ1<. The information that monitors gather is available for you lo view. You
                                                                can use this information to troubleshoot problems and determine what resources in your network. are in need of
                                                                maintenance or reconfiguration.

                                                               About iCheck functionality for monitors
                                                                FTP, SMTP, POP3, and IMAP monitors provide inherent iCheck functionality, which reduces lhe load on BIG-IP syslems
                                                                and improves sustained monitor performance. Additionally, iCheck functionality provides smoother performance
                                                                characlertslics as lhese monnors approach full capacity.


                                                                Methods of monitoring
                                                                                                     ™                            ™
                                                                The BIG-IP Local Trame Manager . DNS, and Link Controller             provide lhree melhods of moniloring: simple
                                                                monitoring, active monitoring, and passive monitoring.

                                                                Simple monitoring
                                                                Simple monitoring determines whether the status of a resource is up or down. Simple monitors do not monitor pool
                                                                members (and lherefore, individual prolocols. services. or applications on a node). but only the node Itself. The system
                                                                contains three simple monitors, Gateway ICMP, ICMP, and TCP_ECHO.

                                                                Simple monitors work well when you only need to determine the up or down status of the following:

                                                                             A Local Traffic Manager node

                                                                             A BIG-IP-ONS or Link Controller server, virtual server. pool, pool member, or link


                                                                Active monitoring
                                                                Active monitoring checks the status of a pool member or node on an ongoing basis as specified. If a pool member or
                                                                node does not respond w�hin a specified timeout period, or lhe slalus of a node indicates that performance is degraded,
                                                                the BIG-IP system can redirect the traffic to another pool member or node. There are many active monitors. Each active
                                                                monitor checks the stalus of a particular protocol, service. or application. For example, one active monitor is HTlP. An
                                                                HTlP monitor allows you to monilor the availability of lhe HTTP service on a pool, pool member. or node. A WMI monitor
                                                                allows you lo monitor lhe perfonnance of a node thal 1s running lhe Windows Managemenl lnstrumenlation (WMI)
                                                                soflware. Active moMors fall into two calegories: Extended Contenl Verification (ECV) monitors for contenl checks. and
                                                                Extended Applicalion Verification (EAV) monitors for service checks, path checks, and application checks

                                                                An active monitor can check for specific responses, and run with or without client traffic

                                                               An active monitor also creates additional network traffic beyond the client request and server response and can be slow
                                                               to mark a poof member as down.

                                                                Passive monitoring
                                                                Passive monitoring occurs as part of a clienl request. This kind of moniloring checks lhe health of a pool member
                                                                based on a specified number of connection attempts or data request attempts that occur within a specified time period. If,
                                                                aner lhe specified number of altempls within lhe defined inlerval, lhe syslem cannol connect to the server or receive a
                                                                response, or if the system receives a bad response, the system marks the pool member as down. There is only one
                                                                passive monitor, called an In band monitor.

                                                               A passive monitor creates no additional network traffic beyond the client request and server response. It can mark a pool
                                                               member as down quickly, as long as there is some amount of network traffic.

                                                               A passive monitor cannot check tor specific responses and can potentia/Jy be slow to mark a pool member as up.

                                                                Comparison of monitoring methods
                                                                In the short description, briefly describe the purpose and intent of the information contained in this
                                                                topic. This element is an FS requirement.

                                                                I   Monitoring
                                                                    Method
                                                                                 I   Benefits                                              I Constraints
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